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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


John Doe,                                               Civil No. 18-cv-02689 (MJD/SER)

                     Plaintiff,

v.                                               STIPULATION OF DISMISSAL WITH
                                                           PREJUDICE
St. Olaf College,

                     Defendant.



       IT IS HEREBY STIPULATED AND AGREED by and between the parties

hereto, by their respective undersigned attorneys, that Plaintiff’s claims and Complaint

against Defendant may be, and hereby are dismissed on the merits with prejudice,

without costs or disbursements to any party, and that a judgment of dismissal with

prejudice may be entered in the above-entitled action pursuant hereto.

       No monetary compensation was provided to Plaintiff or his agents, attorneys or

representatives in connection with the resolution or dismissal of this lawsuit.

       The matter was resolved to the satisfaction of both parties.


Dated: February 26, 2019                  By: s/ Beau McGraw
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                                          Attorneys for Plaintiff


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                                  BASSFORD REMELE
                                  A Professional Association

Dated: February 26, 2019          By: s/ Jonathan P. Norrie
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